          Case 3:21-cv-00071-DB Document 51 Filed 08/02/21 Page 1 of 2
                                                                                    FILED
                                                                                August 02, 2021
                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT                           M. Trujillo
                                                                     BY: ________________________________
                             WESTERN DISTRICT OF TEXAS                                       DEPUTY
                                     El PASO DIVISION
__________________________________________
                                                §
BRANDON CALLIER,                                §
                                                §
                             Plaintiff,         §
                                                §
               v.                               §
                                                §
NATIONAL UNITED GROUP, LLC, a Texas §
Limited Liability Company, CENTENE              §
CORPORATION, d/b/a AM BETTER, a                 §
Delaware Corporation, MULBERRY                  §
MANAGEMENT CORPORATION, d/b/a                   §
OSCAR MANAGEMENT CORPORATION, a §                     Case # 3:21-CV-00071-DB
Delaware Corporation, CR INSURANCE GROUP§
LLC, a Florida Limited Liability Company,       §
HEALTH ONE CORP, a Florida Corporation,         §
SUSAN CARRASCO, ALEXA ASSURANCE §
CORP, a Florida Corporation, ABIGAIL VELEZ, §
RICARDO MOREIRA, MARIA ALLEN                    §
CARDONA, ALLEN INSURANCE SERVICES, §
INC, a Florida corporation, CARLOS              §
RODRIGUEZ, LPV SERVICES, INC., LIZA             §
POLANCO and JOHN DOES 1-4                       §
                                                §
                                                §
                             Defendants.        §
__________________________________________§


   PLAINTIFF’S MOTION TO DISMISS DEFENDANT CENTENE CORPORATION

       NOW COMES PLAINTIFF BRANDON CALLIER, in his individual capacity, and

dismisses Defendant CENTENE CORPORATION d/b/a AM BETTER with prejudice.



       Dated: August 2, 2021,                      Respectfully Submitted,




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                           Brandon Callier
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